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                  EXHIBIT 3
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       Alternative Dispute Resolution ("ADR") Policy and Procedure
                 (For New Employee Applicants Interviewed on or after October 9, 2000)

I.   Coverage

       A. Generally

       This ADR Policy and Procedure is the sole and exclusive method by which an employee ("you",
       or an equivalent personal pronoun) and the Company (collectively, "the parties") are required to
       resolve the covered disputes arising out of or related to your employment with the Company or
       the termination of that employment, each of which, as described below, is referred to as an
       "employment-related dispute", including such disputes arising out of or related to any of the
       following subjects:

      B.   Covered Claims

            1. Any disciplinary action or other adverse employment decision of the Company or any
               statement related to your employment, your performance or your termination; which
               action, decision, or statement you claim is wrongful, in violation of, and arises out of or
               is related to any current or future federal, state or local civil rights laws, fair
               employment laws, wage and hour laws, fair labor or employment standards laws, laws
               against discrimination, equal pay laws, wage and salary payment laws, laws in regards
               to employment benefits or protections, family and medical leave laws, and
               whistleblower laws, including by way of example, but not limited to, the federal Civil
               Rights Acts of 1886, 1971, 1964 and 1991, the Age Discrimination in Employment Act
               of 1967, the Fair Labor Standards Act, the Americans with Disabilities Act of 1990, the
               Family and Medical Leave Act, and the Employee Retirement Income Security Act, as
               they have been or may be amended from time to time; or

            2. Disputes over the arbitrability of any controversy or claim which arguably is or may be
               subject to this ADR Policy and Procedure.

      C.   Claims Not Covered

            l. Claims you may have for workers' compensation or unemployment compensation
               benefits are not covered by this ADR Policy and Procedure.
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               2. Also not covered are claims by Credit Acceptance Corporation for injunctive and/or
                  other equitable relief, including but not limited to, claims for unfair competition and/or
                  the use and/or unauthorized disclosure of trade secrets or confidential information, as to
                  which you understand and agree that Credit Acceptance may seek and obtain relief from
                  a court of competent jurisdiction.

               3. Claims with an aggregate value of less than one thousand ($1000) dollars are not
                  covered by this ADR Policy and


II.       Pre-ADR Procedures

            A. Written Notice of Claimffimeliness - In order to initiate an ADR proceeding pursuant to
               this ADR Policy and Procedure, the aggrieved party must notify the other party by giving
               written notice of a claim. Written notice of a claim must be provided within one year of the
               date the aggrieved party first discovers or had knowledge of the event or series of events
               that give rise to the claim. Failure to provide written notice as required in this Part will
               extinguish the claim in its entirety and will be deemed a waiver of the claim even if there is
               a federal or state statue of limitations which would have given more time to pursue the
               claim. This notice provision is not intended to extend the applicable statute of limitation
               such that any claims that would be time barred had the claim been brought in a court
               action, will remain time barred in the arbitration process.


               l. The Company will provide written notice to me at the most c urrent address reflected in
                   my personnel file.

               2. You will provide written notice to the Company at Credit Acceptance Corporation,
                  Silver Triangle Building, 25505 W. 12 Mile Road, Suite 3000, Southfield, Michigan,
                  48034-8339. Attention: Corporate Legal and Compliance Department.
               3. Any written notice the Company or you provide must be sent by certified or registered
                  mail, return receipt requested. The notice shall be effective on the date it is mailed.

            B. Contents of Written Notice of Claim - The written notice shall contain the following:

               1. A statement describing the claim that is being asserted.
               2. A statement of the facts upon which the claim is based; and
               3. The damages, if any, which are being claimed.

III.      Step 1: Negotiation

       If you have an employmenl-related dispule, you should discuss it with your immediate supervisor, or
       the person to whom your immediate supervisor reports, or your human resources representative.
       You and the Company shall attempt in good faith to negotiate a resolution of any employment-
       related dispute.
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IV.      Step 2: Mediation

      If an employment-related dispute cannot be settled through negotiation and remains unresolved 15
      days after it is asserted, you or the Company may submit the dispute to mediation and the parties
      shall attempt in good faith to resolve the dispute by mediation, under the mediation procedure of the
      American Arbitration Association ("AAA"). Unless the parties agree otherwise in writing, the
      mediation shall be conducted by a single mediator, and the mediator shall be selected from the AAA
      panel pursuant to AAA rules. The mediation shall be conducted in the city and state in which the
      Company office in which you work(ed) is located. Unless the parties agree otherwise, the cost of the
      mediator's reasonable professional fees and expenses and any reasonable administrative fee will be
      paid by the Company.


 V.      Step 3: Binding Arbitration

       A.      Generally any and all claims covered by this ADR Policy and Procedure, not resolved in
               Steps 1 and 2 above, shall be resolved solely and exclusively through arbitration as
               provided herein. Except as provided elsewhere in this ADR Policy and Procedure, neither
               one of us will initiate or prosecute any lawsuit or administrative action (other than an
               administrative charge of discrimination) that is in any way related to any claim covered by
               this ADR Policy and Procedure. Either party may compel arbitration pursuant to this ADR
               Policy and Procedure and may enforce any Arbitration Award made pur suant to the ADR
               Policy and Procedure in any court of competent jurisdiction.

       B.    Preliminary Arbitration Procedures

               1. Timing/Forum/Location. If an employment-related dispute cannot be settled through
                  mediation and remains unresolved 45 days after the appointment of a mediator, you or
                  the Company may submit the dispute to arbitration and the dispute shall be settled in
                  arbitration by a single arbitrator in accordance with the applicable rules for arbitration
                  of employment disputes of the then-current Model Employment Arbitration Procedures
                  of the American Arbitration Association ("AAA"). The arbitration shall take place in
                  or near the city and state in which the Company office in which you work(ed) is
                  located.

               2. Representation. It is understood that both the Company and you have the right to
                  choose - and to be represented by - legal counsel or any other representative at any and
                  all stages of the arbitration proceeding.

               3. Qualification and Selection of the Arbitrator.

                      a. Qualifications - The Arbitrator ("Arbitrator") selected pursuant to the
                         provisions of this Agreement shall be licensed to practice law in the state in
                         which the arbitration hearing is held.
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             b. Selection Process - Each party shall receive a list of the names of the same six
                arbitrators selected by the American Arbitration Association ("AAA"). Each
                party shall strike any and alJ names on the list that it deems unacceptable. In the
                event only one common name remains on each list of the parties, that remaining
                person shall be appointed as the Arbitrator. In the event more than one common
                name remains on each list of the parties, then the parties shall strike names
                alternately, with the Company making the frrst strike, until only one name
                remains, and that remaining person shall be appointed as the Arbitrator. In the
                event no common name appears after the initial striking of names, then an
                additional list of six arbitrators shall be supplied by the AAA and the striking
                process shall resume until an Arbitrator is selected.


       4. Discovery.

             a. Depositions: Each party shall have the right to take the deposition of one
                person and of any witness the other party designates as an expert to testify at
                trial.
             b. Production of Documents: Each party shall have the right to request the
                production of documents from the other party.
             c. Subpoena: Each party shall have the right to subpoena witnesses to attend the
                hearing and the production of documents pursuant to the course of the
                arbitration.
             d. Additional Discovery Procedures: The arbitrator may, at his or her sold
                discretion and only upon a showing of substantial need, order additional
                discovery beyond what is explicitly provided for in this ADR
             e. Notification of Witnesses and Exhibits: In order to use the testimony of any
                witnesses, including any expert, or any exhibits, a party must supply a written
                list of any and all witnesses and copies of all exhibits intended to be used at the
                arbitration hearing no less than 40 days prior to the arbitration. The list of
                witnesses and copies of exhibits must be supplied to the other party either in
                person or through certified or registered mail, return receipt requested.
             f. Pre-Hearing Disputes: In furtherance of the assurance of procedural fairness,
                the Arbitrator shaJl have the jurisdiction and authority to hear and rule on any
                pre-hearing disputes including (but not li mited to any discovery) which may
                arise between the parties to the arbitration.


  C.    Arbitration Procedures.

       1. Generally. Arbitration shall be in accord with the then-current Model Employment
          Arbitration Procedures of the AAA.
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       2. Law to be applied. The Arbitrator shall apply the substantive law of the state in which
          the claim arose, or federal law, or both, as deemed applicable and relevant by the
          Arbitrator for the claim asserted.

       3. Motion to Dismiss and Summary Judgment.                The Arbitrator shall have the
          jurisdiction and authority to hear and decide a Motion to Dismiss or a Motion for
          Summary Judgment by either party. The Arbitrator shall apply the Federal Rules of
          Civil Procedure in hearing and deciding such a Motion.

       4. Stenographic Record. Any party desiring a stenographic record of the arbitration
          hearing shall make arrangements directly with a stenographer and shall notify the other
          parties of these arrangements in advance of the hearing. The requesting party or parties
          shall pay the cost of the record. If the transcript is agreed by the parties to be, or
          determined by the Arbitrator to be, the official record of the proceeding, it must be
          made available to the Arbitrator and to the other parties for inspection at a date, time,
          and place determined by the Arbitrator. Either party shall have the right, at its own
          expense, to receive a written transcript of all of the arbitration proceedings.

       5. Post-Hearing Brief. The Arbitrator shall have the authority to grant leave to either
          party, upon their request, to file a post-hearing brief. The Arbitrator shall determine the
          time limit for filing and the format and contents of the brief.

       6. Written Opinion. The Arbitrator shall render a written opinion within 60 days after
          the date of the closing of the hearing. Unless the parties agree otherwise, the written
          opinion shall be in the form typically rendered in labor arbitrations and executed in the
          manner required by law.

       7. Confidentiality of Results.      Unless the parties agree otherwise, the result of the
          arbitration shall be confidential, and may not be disclosed to third parties, including
          (but not limited to) newspapers or legal publishers.


  D.    Scope of the Arbitration and Power of the Arbitrator:

       I. Arbitrator Shall Resolve All Claims. Except as otherwise provided in this
          Agreement, the Arbitrator shall have exclusive jurisdiction to hear and resolve any and
          all claims covered by this ADR Policy and Procedure, including (but not limited to)
          disputes relating to the interpretation, applicability, or formation of this Agreement.
          Except as otherwise provided herein, no court or agency - whether federal, state, local
          or otherwise - shall have any jurisdiction to hear or resolve any claims covered by this
          ADR Policy and Procedure.

       2. Scope of Award. Except as otherwise provided herein, the Arbitrator shall have the
          authority to award any remedy permitted by law. Except as provided in the
          immediately following sentence, the Arbitrator shall have the jurisdiction and authority
          to award specific performance to either party regarding any claim. Notwithstanding the
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                 forgoing to the contrary, the Arbitrator may not award either reinstatement of
                 employment or a promotion.

              3. Arbitration is Final and Binding. The Arbitrator's opinion will constitute a final and
                 binding resolution of any and all claims either party may have against the other.
                 Neither party may appeal the results of the arbitration to any federal, state, local or
                 other court or agency.

         E.    Fees and Expenses:

              1. Arbitrator's Fees and Expenses. Except as otherwise provided in the Agreement, the
                 parties shall share equally any and all fees and expenses of the Arbitrator. Each party
                 will deposit funds or post other security for its share of the Arbitrator's fee, in an
                 amount and manner determined by the Arbitrator, 10 days before the first hearing.

              2. Attorney's Fees. Each party shall pay for its own costs and attorneys' fees, if any.
                 However, in the event a party prevails on a statutory claim for whkh attorneys' fees
                 may be awarded to the prevailing party, or if the parties have a written agreement
                 providing for payment of attorneys' fees to the prevailing party, the Arbitrator has
                 authority to award reasonable attorneys' fees to the prevailing party.

              3. Witness Fees and Expenses. The fees and expenses of a witness shall be paid by the
                 party producing or subpoenaing such a witness.

VI.      Interstate Commerce

It is understood that Credit Acceptance Corporation is engaged in transactions involving interstate
commerce and that your employment involves such commerce.

VII.     Provisional Remedies

You or the Company may file a complaint or commence a court action to obtain an injunction to enforce
the provisions of this ADR Policy and Procedure or to seek a preliminary injunction or other provisional
relief to maintain the status quo in aid of or pending the application or enforcement of this ADR Policy
and Procedure. Despite such action, che parries shall continue to parcicipace in good faith in this ADR
Policy and Procedure.

VIII. Administrative Agencies

Nothing in this ADR Policy and Procedure is intended to prevent you from filing a complaint or charge
with any administrative agency, including, but not limited to, the Equal Employment Opportunity
Commission, the Michigan Department of Civil Rights and/or the National Labor Relations Board.

IX.      At-Will Employment/Waiver of Jury or Court Trial

This ADR Policy and Procedure does not alter the at-will status of your employment. Nothing in this
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ADP Policy and Procedure limits in any way your right or the Company's right to te1minate your
employment at any time, for any or no reason, with or without notice. This ADR Policy and Procedure
does not require the Company to start the arbitration process before taking disciplinary action of any
kind, including without limitation the termination of your employment. This policy waives any right
that you or the Company may have to a jury trial or a court trial of any herein covered employment-
related dispute.

X.       Termination of the ADR Policy and Procedure

This ADR Policy and Procedure may be terminated by the Company at any time by giving you and all
other employees to whom this ADR Policy and Procedure applies at least 90 days written notice of such
termination. However, such termination shall not be effective as to any employment-related dispute
arising out of events that occur on or before the date of termination of this ADR Policy and Procedure.

XI.      Survival/Requirements for Modification or Amendment

This ADR Policy and Procedure shall survive the termination of your employment. It can only be
modified or amended by a writing signed by the parties which specifically states an intent to modify or
amend this ADR Policy and Procedure.

XII.     Sole and Entire Agreement

This is the complete Agreement of the parties on the subject of ADR Policy and Procedure and the
within described employment-related disputes. This ADR Policy and Procedure supersedes any prior or
contemporaneous oral or writte n understanding on the subject. No party is relying on any
representations, oral or written, on the subject of the affect, enforceability or meaning of this ADR
Policy and Procedure, except as specifically set fourth in this ADR Policy and Procedure.

XIII. Consideration

The promised by Credit Acceptance Corporation and you to enter into this ADR Policy and Procedures
process and to ultimately, if not resolved otherwise, arbitrate differences, rather than litigate them before
courts or other bodies, provide consideration for each other. In addition, your hiring by Credit
Acceptance Corporation provides further consideration for this ADR Policy and Procedures Agreement.

XIV. ADR Agreement

By your and the Company's signature on the separate Agreement on Alternative Dispute Resolution,
you and the Company agree that this ADR Pol icy and Procedure shall mandatorily apply and be the sole
and exclusive method by which you and the Company are required to resolve the hereinbefore described
employment-related disputes, to the fullest extent permitted and not prohibited or restricted by law.

Although this ADR Policy and Procedure is common to all subsidiaries and affiliates of Credit
Acceptance Corporation (the "entity"), the common application of the ADR Agreement and this ADR
Policy and Procedure and the collective reference to the term "Company" do not confer upon any
employee any rights as to any entity against which that employee otherwise would not have such rights
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or subject any entity to any obligations to any employee of another entity towards whom the first entity
otherwise would not have any obligation.

XV.     Construction/Savings Provision

Should any provision of this ADR Policy and Procedure be held invalid, illegal or unenforceable, you
and the Company agree that it shall be deemed to be modified so that its purpose can lawfully be
effectuated and the balance of this ADR Policy and Procedure shall remain in full force and effect. You
and the Company further agree that the provisions of this ADR Policy and Procedure shall be deemed
severable and the invalidity or enforceability of any provision shall not affect the validity of
enforceability of the other provisions hereof.

XVI. Duration of Agreement

I understand and agree that this Agreement will continue in full force and effect both during my entire
period of employment with the Company and, if applicable, after my termination of employment with
the Company.


XVII. Heading for Convenience Only

Headings of the sections in this Agreement are inserted for converuence only and are not to be
considered in the construction of any provisions hereof.

XVID. Agreement is not an Employment Agreement

This ADR Policy and Procedure shall not be deemed or construed to be a contract of employment
between the Company and me. Nothing is this Agreement shall be deemed or construed to give me the
right to be retained in the employ of the Company, or to interfere with the Company's right to discharge
me at any time. In addition, this Agreement shall not be deemed or construed to give the Company the
right to require me to remain in its employ or interfere with my right to terminate my employment at any
time.
